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                                           No. 23-1850
                                          IN THE
                          UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT


                HONEYWELL INTERNATIONAL INC.; HAND HELD PRODUCTS, INC.;
                            METROLOGIC INSTRUMENTS, INC.,

                                       Plaintiffs-Appellants,

                                                 v.

                                   OPTO ELECTRONICS CO., LTD.,

                                          Defendant-Appellee.
                               ____________________________

                        On Appeal from the United States District Court
                          for the Western District of North Carolina
                               Case No. 3:21-cv-506-KDB-DCK
                                                            


                STATUS REPORT REGARDING POST-TRIAL MOTIONS
                                                            


            M. Scott Stevens
            S. Benjamin Pleune
            Stephen R. Lareau
            ALSTON & BIRD LLP
            1120 South Tryon Street, Ste. 300
            Charlotte, NC 28203
            (704) 444-1000

            Attorneys for Appellants
            Honeywell International Inc.;
            Hand-Held Products, Inc.; and
            Metrologic Instruments, Inc.

                                         October 3, 2023
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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            23-1850
        No. __________             Caption: Honeywell
                                            __________________________________________________
                                                      International Inc., et al v. OPTO Electronics Co., Ltd.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Honeywell International Inc.
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          appellant           makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?     ✔ YES       NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   M. Scott Stevens
        Signature: ____________________________________                     Date: ___________________
                                                                                        10/3/2023

                     Appellants
        Counsel for: __________________________________




                                                      -2-               Print to PDF for Filing
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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                           DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
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        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            23-1850
        No. __________             Caption: Honeywell
                                            __________________________________________________
                                                      International Inc., et al v. OPTO Electronics Co., Ltd.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Hand Held Products, Inc.
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          appellant           makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                ✔ YES      NO
                If yes, identify all parent corporations, including all generations of parent corporations:
                 Honeywell International Inc.




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                              ✔ YES       NO
                If yes, identify all such owners:
                 Honeywell International Inc.




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   M. Scott Stevens
        Signature: ____________________________________                     Date: ___________________
                                                                                        10/3/2023

                     Appellants
        Counsel for: __________________________________




                                                      -2-               Print to PDF for Filing
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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                           DISCLOSURE STATEMENT

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             organizational victim of the alleged criminal activity. (See question 7.)
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            23-1850
        No. __________             Caption: Honeywell
                                            __________________________________________________
                                                      International Inc., et al v. OPTO Electronics Co., Ltd.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Metrologic Instruments, Inc.
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          appellant           makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                ✔ YES      NO
                If yes, identify all parent corporations, including all generations of parent corporations:
                 Honeywell International Inc.




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                              ✔ YES       NO
                If yes, identify all such owners:
                 Honeywell International Inc.




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
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              pursuing in a representative capacity, or state that there is no such member:




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              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   M. Scott Stevens
        Signature: ____________________________________                     Date: ___________________
                                                                                        10/3/2023

                     Appellants
        Counsel for: __________________________________




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              Appellants Honeywell International Inc., Hand Held Products, Inc., and

        Metrologic Instruments, Inc. (collectively, “Honeywell”) file this Status Report

        regarding the resolution of post-trial motions by the District Court.

               The District Court entered judgment on July 20, 2023. On August 3, 2023,

        Honeywell filed a Motion for Fees and Costs. On August 17, 2023, OPTO filed a

        motion for judgment as a matter of law under Federal Rule of Civil Procedure 50

        and, in the alternative, for a new trial under Rule 59. On September 8, 2023, OPTO

        filed an unopposed Motion to Hold Appeal in Abeyance Pending Resolution of Post-

        Trial Motion. Doc. 17. This Court issued an Order suspending the briefing schedule

        on September 11, 2023. Doc. 18. On October 2, 2023, this Court issued an Order

        that the parties shall notify the court immediately when the District Court has ruled

        on the pending motions. Doc. 19. The District Court denied both parties’ post-trial

        motions on September 27, 2023.

              On October 2, 2023, Honeywell filed an Amended Notice of Appeal. On

        October 3, 2023, this Court entered a Briefing Order in this matter. Doc. 20.

        Honeywell understands this Briefing Order moots the need for any further status

        reports.

              OPTO has indicated that it intends to wait to file its potential cross Notice of

        Appeal. Nonetheless, Honeywell expects to file its principal brief in accordance with

        the current Briefing Order and may choose to self-expedite the briefing schedule by
                                                     1
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        filing ahead of the deadline, along with a request that OPTO’s responsive brief (or

        principal and responsive brief as the case may be) be due within 30 days from the

        filing of Honeywell’s principal brief.

        Dated: October 3, 2023                     Respectfully submitted,

                                                   /s/ M. Scott Stevens
                                                   M. Scott Stevens
                                                   S. Benjamin Pleune
                                                   Stephen R. Lareau
                                                   Brandon Springer
                                                   Nicholas C. Marais
                                                   Lauren N. Griffin
                                                   ALSTON & BIRD LLP
                                                   1120 South Tryon Street, Ste. 300
                                                   Charlotte, NC 28203
                                                   (704) 444-1000

                                                   Attorneys for Appellants
                                                   Honeywell International Inc.;
                                                   Hand-Held Products, Inc.; and
                                                   Metrologic Instruments, Inc.




                                                     2
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                              CERTIFICATE OF COMPLIANCE

              1.    This brief complies with the type-volume limitations of Fed. R. App. P.

        27(d)(2)(A) because it contains 273 words, excluding the parts of the brief exempted

        by Fed. R. App. P. 32(f).

              2.    This brief complies with the typeface and type-style requirements of

        Fed. R. App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6) because it has been prepared

        in a proportionally spaced, 14-point font using Microsoft Word.



                                                            /s/M. Scott Stevens
                                                            M. Scott Stevens




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                                    CERTIFICATE OF SERVICE

              I hereby certify that on October 3, 2023, the foregoing was filed with the Clerk

        of the United States Court of Appeals for the Fourth Circuit using the CM/ECF

        system, which will also serve all counsel of record.



                                                               /s/M. Scott Stevens
                                                               M. Scott Stevens




                                                     4
